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                             IN THE UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

SHARON JEAN MANNING,                              §
                                                  §
                Plaintiff,                        §
v.                                                §    Civil Action No. 3:19-CV-1247-L-BH
                                                  §
ANDREW SAUL, COMMISSIONER OF                      §
SOCIAL SECURITY,                                  §
                                                  §
                Defendant.                        §

                                              ORDER

        The Findings, Conclusions and Recommendation of the United States Magistrate Judge

(“Report”) (Doc. 21) was entered on August 31, 2020, recommending that the court dismiss without

prejudice this action for lack of subject matter jurisdiction. No objections to the Report were filed.

        Having reviewed the pleadings, file, record in this case, and Report, the court determines that

the findings and conclusions of the magistrate judge are correct, and accepts them as those of the

court. Accordingly, the court dismisses without prejudice this action for lack of subject matter

jurisdiction.

        It is so ordered this 18th day of September, 2020.



                                                       _________________________________
                                                       Sam A. Lindsay
                                                       United States District Judge




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